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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

RICHARD ALLEN BELL,

      Plaintiff,

v.                                                Case No. 3:22cv4701-MCR-HTC

C.O. JACOBSEN, et al.,

     Defendants.
_________________________/

                     REPORT AND RECOMMENDATION

      Plaintiff Richard Allen Bell, a prisoner proceeding pro se under 42 U.S.C.

§ 1983, sues Defendants Drew Jacobsen and Justin Neel for failing to protect him

from an attack by his cellmate, Rashan Mike, on September 11, 2020, at Santa Rosa

Correctional Institution (“SRCI”). Doc. 15. Before the Court is Defendants’ motion

for summary judgment, Doc. 90, and Plaintiff’s response in opposition, Doc. 101.

After considering the parties’ submissions, the record, and the relevant law, the

undersigned recommends the motion for summary judgment be DENIED, as a

genuine dispute of material fact exists regarding whether Defendants subjectively

knew Mike posed a substantial risk of serious harm to Plaintiff.

I.    Legal Standard

      “The court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a
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matter of law.” Fed. R. Civ. P. 56(a). “[T]he mere existence of some alleged factual

dispute between the parties will not defeat an otherwise properly supported motion

for summary judgment; the requirement is that there be no genuine issue of material

fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). An issue of

fact is “material” if it might affect the outcome of the case under the governing law,

and it is “genuine” if the evidence is such that a reasonable jury could return a verdict

for the nonmoving party. Id. The Court must review the evidence, and all factual

inferences reasonably drawn from the evidence, “in the light most favorable to the

non-moving party.” Hairston v. Gainesville Sun Publ’g Co., 9 F.3d 913, 918 (11th

Cir. 1993) (citation omitted). “If reasonable minds could differ on the inferences

arising from undisputed facts, then a court should deny summary judgment.”

Miranda v. B & B Cash Grocery Store, Inc., 975 F.2d 1518, 1534 (11th Cir. 1992)

(citation omitted).

II.    Facts

       A.      Plaintiff’s Evidence

       Plaintiff’s second amended complaint 1 and the declaration he submitted in

opposition to Defendants’ motion for summary judgment establish the following:



1
  Plaintiff’s second amended complaint is signed under penalty of perjury and, thus, may be
considered as evidence. See Sammons v. Taylor, 967 F.2d 1533, 1545 n.5 (11th Cir. 1992)
(“[F]acts alleged in an inmate’s sworn pleading are sufficient and … a separate affidavit is not
necessary.”); Perry v. Thompson, 786 F.2d 1093, 1095 (11th Cir. 1986) (holding specific facts
pled in a sworn complaint must be considered in opposition to a motion for summary judgment).


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      On August 3, 2020, inmate Rashan Mike was assigned to be Plaintiff’s

cellmate at SRCI. Doc. 101 at 10. Plaintiff immediately noticed Mike was “mentally

disturbed and unstable.” Doc. 15 at 9. Mike often talked to himself, and, when he

heard others talking, he believed they were “speaking cryptically” and “plotting on

him.” Id. These delusions made Mike paranoid and hostile to Plaintiff and other

inmates. Id.; Doc. 101 at 10. Between August 1 and August 20, Plaintiff and Mike

had several hostile altercations that nearly became physically violent due to Mike’s

paranoia, “and that led to Mike threatening to kill [Plaintiff] because he believed

[Plaintiff] was plotting on him.” Doc. 101 at 11.

      On approximately August 25, 2020, Mike showed Plaintiff documents related

to his criminal case; Mike told Plaintiff “he was serving a life sentence for assaulting

a law enforcement officer with a knife because he believed the officer was plotting

on him.” Id. The next day, Plaintiff requested a cell transfer through a grievance,

citing Mike’s psychological problems, his threats to kill Plaintiff, and his criminal

history. Id.; Doc. 15 at 9. Plaintiff did not receive a response to the grievance. Doc.

15 at 9.

      Around August 30, 2020, while Mike was away taking a shower, Plaintiff told

Defendant Jacobsen about Mike’s mental health issues, his threats toward Plaintiff,

and the verbal altercations between Mike and Plaintiff. Doc. 15 at 9-10; Doc. 101

at 11. Plaintiff also tried to convey the seriousness of the threat posed by Mike and



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his propensity to act on his delusions by advising Jacobsen that Mike had assaulted

a law enforcement officer with a knife because he believed the officer was plotting

on him. Doc. 101 at 11. Jacobsen acknowledged he knew about Mike’s mental

health and paranoia but refused to grant Plaintiff a cell transfer, stating: “No. Neither

of you are getting moved! Either get along or go ahead and kill each other. And I’m

going to tell the other shifts not to move you either.” Doc. 15 at 9-10.

       When Mike returned to the cell from the shower that same day, he confronted

Plaintiff about a statement Jacobsen allegedly made to Mike about Plaintiff

threatening to “fuck [Mike] up” if Mike was not moved from the cell 2; although

Mike “wanted to fight,” Plaintiff “avoided a violent encounter” by denying he made

the comment to Jacobsen, getting on the top bunk, and refusing to fight. Doc. 101

at 11. After this incident, Mike “started acting even more paranoid and hostile.” Id.

       On September 5 or 6, Plaintiff spoke with Defendant Neel while Mike was

away at a dental call-out. Id. at 12. Plaintiff told Neel about his “ordeal” with Mike,

including: (1) Mike’s psychological issues, which made him paranoid and hostile;

(2) his threats to kill Plaintiff because he believed Plaintiff was plotting on him; (3)

the details of his criminal case; and (4) that Jacobsen had been told about the




2
  Defendants take issue with the inclusion of this statement in Plaintiff’s declaration, arguing it is
inadmissible hearsay. As will be made clear through the discussion below, the undersigned need
not determine whether the statement would be admissible because it is not pertinent to the
undersigned’s ruling.


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situation and had allegedly made comments which increased the tension between the

inmates. Doc. 101 at 12. Nevertheless, Neel denied Plaintiff’s request for a cell

transfer, stating, “We aren’t doing any moves.” Doc. 15 at 10.

       One day between September 5 and 10, Jacobsen allowed Mike to keep a food

tray in the cell after tray pick up. Doc. 101 at 12. Plaintiff encouraged Mike to finish

eating and return the tray because Plaintiff was worried they would be subject to

disciplinary action if a tray was found in their cell after mealtime. Doc. 15 at 10.

Mike responded, “No, it’s okay. Jacobsen knows what’s up. He straight. I’ll just

push it back at breakfast.” Id.

       Between 12:00 a.m. and 3:00 a.m. on September 11, 2020, Mike attacked

Plaintiff with the food tray as he slept. Doc. 101 at 12. Plaintiff woke up and saw

Mike standing over him “poised to strike [him] again with something large in his

hands, though [he] couldn’t tell exactly what it was because the lights were off.” Id.

Mike struck Plaintiff and knocked him unconscious. Id. After the attack ended,

another inmate, Isaac Day, saw an officer remove a bloody tray from Plaintiff’s cell. 3

Id. at 13.


3
  Plaintiff included two declarations from Day with his opposition. In both declarations, Day states
he was at SRCI on September 11, 2020, saw a bloody tray being taken out of Plaintiff’s cell after
the incident with Mike, and overheard officers talking about the tray. Doc. 101 at 53, 58.
Defendants, however, rely on an affidavit from Christy Padgett, a Sergeant at SRCI, to show that
Day’s declarations and Plaintiff’s own assertion that Day was at SCRI on September 11, 2020, are
false because Day had been transferred to Hamilton Correctional Institution on August 27. Doc.
90-3 at 1-4. Whether Mike used a tray, had a tray, or Jacobsen gave him a tray to use during the
incident are simply not outcome determinative. The key questions regarding Plaintiff’s failure to


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         As a result of Mike’s attack, Plaintiff was in a coma for almost two weeks; he

suffered a broken jaw, broken nose, broken eye socket, a trauma induced cataract,

the loss of three teeth, two cranial fractures, numerous lacerations to his face and

head, massive brain swelling and hemorrhaging, and some nerve damage. Doc. 101

at 12.

         B.    Defendants’ Evidence

         Defendants Jacobsen and Neel have submitted affidavits indicating they have

no recollection of Plaintiff, Mike, or the events described in the second amended

complaint but aver they “would never ignore the safety of an inmate if [they were]

made aware that his cellmate posed a substantial risk of serious injury to him.” Docs.

90-1 & 90-2.

III.     Discussion

         A.    Eighth Amendment

         The Eighth Amendment “requires prison officials to take reasonable measures

to guarantee the safety of the inmates and protect prisoners from violence at the

hands of other prisoners.” Washington v. Warden, 847 F. App’x 734, 737 (11th Cir.

2021) (citing Farmer v. Brennan, 511 U.S. 825, 832-33 (1994)). To prevail on an

Eighth Amendment failure to protect claim, a plaintiff must show: (1) a substantial



protect claim are whether Defendants subjectively knew Mike posed a substantial risk of serious
harm to Plaintiff, and whether their failure to take any action after learning of the risk was
unreasonable. Thus, those are the issues the undersigned will address.

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risk of serious harm; (2) the defendants’ deliberate indifference to that risk; and (3)

causation. Marbury v. Warden, 936 F.3d 1227, 1233 (11th Cir. 2019) (citation

omitted).

      “The first element of a failure-to-protect claim—whether a substantial risk of

serious harm existed—is an objective determination. To show a substantial risk of

serious harm, a prisoner must provide evidence that there was a ‘strong likelihood’

of his injury occurring, because the mere possibility of injury is not enough.” Rhiner

v. Sec’y, Fla. Dep’t of Corr., 817 F. App’x 769, 775 (11th Cir. 2020) (citations

omitted). “The second element of a failure-to-protect claim—deliberate indifference

to a substantial risk of harm—has three components: (1) subjective knowledge of a

risk of serious harm; (2) disregard of that risk; and (3) conduct that is more than

gross negligence.” Id. (citing Harrison v. Culliver, 746 F.3d 1288, 1298 (11th Cir.

2014)).

      Defendants argue “[t]here is no record evidence or reasonable inference that

Defendants acted with deliberate indifference to Plaintiff and knowingly placed

Plaintiff at substantial risk of serious injury.” Doc. 90 at 10. They focus on the

subjective knowledge requirement, claiming they did not know Mike posed a

substantial risk of serious harm to Plaintiff and asserting the Court’s deliberate




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indifference analysis must consider the “reality of a jail situation.” 4 Doc. 90 at 11.

Defendants suggest they lacked the required subjective knowledge because they “are

not trained experts in human behavior,” prison “is a dangerous place,” and it is

difficult to determine whether cellmates are merely bickering or whether one poses

a real threat to the other. See Doc. 90 at 11 (“To expect any corrections officer to

correctly determine if cellmates are simply not getting along or actually pose a real

and substantial threat to the other is not realistic under the facts before this Court.”).

       While the undersigned is aware of the difficulties faced by correctional

officers, that does not justify granting summary judgment on the facts in this case.

Plaintiff did not make some vague report to Defendants about an inmate’s generally

problematic nature. Instead, the evidence submitted by Plaintiff shows that when

Plaintiff asked each Defendant to separate him from Mike, he specifically told them:

(1) Mike suffered from psychological issues which made him paranoid and hostile

to Plaintiff and other inmates; (2) those issues led to verbal altercations between

Plaintiff and Mike which had “almost turned physically violent”; (3) Mike had a



4
  Defendants cite Christie ex rel. estate of Christie v. Scott, 923 F. Supp. 2d 1308, 1319 (M.D. Fla.
2013) for this proposition but that case did not involve a failure to protect claim. Furthermore, the
court made the “reality of jail situation” remark in the context of considering whether a company
providing medical care to inmates at a jail should have had a policy requiring nurses to intervene
with correctional officers. See id. (“But a policy requiring that a nurse intervene with corrections
officers whenever the nurse believes a detainee’s health may be adversely affected by a corrections
officer’s actions does not reflect the reality of a jail situation. It may be preferable that medical
staff and corrections staff have a good working relationship so that concerns can be exchanged,
but a formal policy requiring intervention is likely not appropriate.”). Thus, the case is inapposite.


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violent disposition and a history of acting on his paranoia, as he was serving a life

sentence for attacking a law enforcement officer with a knife because he believed

the officer “was plotting on him”; (4) Mike threatened to kill Plaintiff because Mike

believed Plaintiff “was plotting on him”; and (5) Plaintiff feared for his safety. Doc.

15 at 9-10; Doc. 101 at 11-12. Despite Defendants’ assertions that they do not recall

these events, a reasonable jury could conclude based on Plaintiff’s evidence that

Defendants subjectively knew leaving Mike in a cell with Plaintiff posed a

substantial risk of serious harm to Plaintiff. 5 See Bowen v. Warden, Baldwin State

Prison, 826 F.3d 1312, 1321 (11th Cir. 2016) (explaining that subjective knowledge

can be inferred from circumstantial evidence and “the very fact that the risk was

obvious”) (citing Farmer, 511 U.S. at 842); Carter v. Galloway, 352 F.3d 1346,

1350 (11th Cir. 2003) (when assessing whether a prison official has subjective

knowledge, a court should consider whether the official was aware “of a

particularized threat or fear felt by [the] [p]laintiff”).

       The evidence is also sufficient for a jury to conclude Defendants recklessly

disregarded the risk posed by Mike. After Plaintiff advised Jacobsen about his issues

with Mike, Jacobsen told Plaintiff the inmates would either need to get along or kill


5
  Defendants note Plaintiff filed an informal grievance regarding Mike’s mental health, his threats
to kill Plaintiff, and his criminal history. Doc. 15 at 9. Because Plaintiff and Mike were not
separated in response to the grievance, Defendants argue that, like them, other prison officials must
have reasonably concluded Mike did not pose a substantial risk of harm to Plaintiff. Doc. 90 at
13. However, no such inference can be drawn because Plaintiff never received a response to the
grievance and, thus, it is unclear whether officials ever considered the merits of the grievance.


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each other and he would tell the other shifts not to move either inmate. Contrary to

Defendants’ argument, this statement (which the Court must accept as true at this

stage), is evidence of more than just negligent conduct, particularly considering that

neither Jacobsen nor Neel moved either inmate despite knowing about the risk posed

by Mike. Defendants’ failure to separate the inmates or conduct any investigation

into the threats reported by Plaintiff could be viewed as more than grossly negligent. 6

See Jackson v. Stevens, 694 F. Supp. 2d 1334, 1338 (M.D. Ga. 2010) (“A prison

official responds to a known risk in an objectively unreasonable manner if ‘he knew

of ways to reduce the harm but knowingly declined to act’ or if ‘he knew of ways to

reduce the harm but recklessly declined to act.’”) (quoting Hale v. Tallapoosa Cnty.,

50 F.3d 1579, 1583 (11th Cir. 1995)); cf. Mosley v. Zachery, 966 F.3d 1265, 1271-

72 (11th Cir. 2020) (“In most other cases, based on what the prison official knows

about the prisoners, their history, the threat, and the structure and administration of

the prison, it is not an unreasonable response to see that the prisoners are separated

and supervised while the official investigates the threat and looks into her options.”).




6
  Defendants also assert Plaintiff admitted in his deposition “that Defendants had no intention of
hurting Plaintiff but Jacobsen was just being a jerk by not allowing Plaintiff to dictate who would
be his cellmate.” Doc. 90 at 12. This assertion is incorrect. Plaintiff’s statement that Jacobsen
“wanted to be a jerk,” Doc. 90-4 at 16, does not imply Plaintiff believed Jacobsen intended no
harm. Indeed, when Plaintiff was directly asked whether he believed Jacobsen intended for him
to get hurt, Plaintiff said “yes” – a portion of Plaintiff’s testimony Defendants fail to reference in
their argument. Doc. 90-4 at 17.


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Thus, a jury could return a verdict in Plaintiff’s favor on his Eighth Amendment

failure to protect claims.

      B.     Qualified Immunity

      Defendants also argue judgment should be entered in their favor because they

are entitled to qualified immunity. Qualified immunity shields government officials

performing discretionary functions from liability for civil damages insofar as their

conduct does not violate clearly established statutory or constitutional rights of

which a reasonable person would have known. Myrick v. Fulton Cnty., Ga., 69 F.

4th 1277, 1300 (11th Cir. 2023). “Once the qualified immunity defense is raised,

plaintiffs bear the burden of showing that the federal rights allegedly violated were

clearly established.” Foy v. Holston, 94 F.3d 1528, 1532 (11th Cir. 1996) (citation

omitted). “Plaintiffs can show that a constitutional right was clearly established in

three ways: (1) citing case law with indistinguishable facts that clearly establishes

the constitutional right; (2) pointing to a broad statement of principle within the

Constitution, statute, or case law that clearly establishes the constitutional right; or

(3) alleging conduct so egregious that a constitutional right was clearly violated,

even in the total absence of case law.” Myrick, 69 F. 4th at 1300.

      Here, the undersigned concludes Defendants are not entitled to qualified

immunity. Construing the facts in the light most favorable to Plaintiff, Defendants

had subjective knowledge that Mike posed a substantial risk of serious harm to



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Plaintiff, yet they failed to take any action to abate that risk. Such conduct cannot

be considered objectively reasonable and it violates a constitutional right that was

clearly established as of September 2020. 7 See Nelson v. Tompkins, — F.4th —,

2024 WL 57022, at *6 (11th Cir. 2024) (rejecting qualified immunity defense for

failure to protect claim and holding it is clearly established that an officer violates

his duty to protect prisoners “if he ‘knows that one prisoner poses a substantial risk

of serious harm to another, yet fails to take any [reasonable] action’ to separate

them”) (quoting Caldwell v. Warden, FCI Talladega, 748 F.3d 1090, 1102 (11th Cir.

2014)) (alteration in original). Thus, Defendants are not protected by qualified

immunity.

IV.     Conclusion

        Accordingly, it is RECOMMENDED:

        1.    That Defendants’ motion for summary judgment, Doc. 90, be DENIED.




7
  In the qualified immunity section of their motion, Defendants assert they “had no idea of the
inmates’ violent history or possible behavioral issues.” Doc. 90 at 19. Plaintiff, however, has
presented evidence he told both Defendants about Mike’s psychological problems and violent
criminal history; and even Defendants’ affidavits admit the dorm where the attack occurred is
“primarily for the incarceration of inmates with emotional, behavioral, and similar issues,” Doc.
90-1 at 2. Defendants also make somewhat inconsistent arguments; they suggest it would have
been reasonable for them to ignore Plaintiff’s verbal complaints about Mike because they never
“witnessed any strange or threatening behavior by Mike,” Doc. 90 at 21, but also that they do not
know about inmates’ behavioral issues because they have many responsibilities “with little time
for interaction with the inmates,” id. at 19-20. If Defendants did indeed have “little time for
interaction with the inmates,” then their failure to observe any threatening behavior from Mike
would not provide a basis to reject Plaintiff’s reports of Mike’s threats.


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      2.     That this case be referred to the undersigned for further pretrial

proceedings on Plaintiff’s individual capacity Eighth Amendment failure to protect

claims against Defendants Jacobsen and Neel.

      At Pensacola, Florida, this 16th day of January, 2024.

                                 /s/ Hope Thai Cannon
                                 HOPE THAI CANNON
                                 UNITED STATES MAGISTRATE JUDGE


                           NOTICE TO THE PARTIES

Objections to these proposed findings and recommendations must be filed within
fourteen (14) days of the date of the Report and Recommendation. Any different
deadline that may appear on the electronic docket is for the court’s internal use only
and does not control. An objecting party must serve a copy of its objections upon
all other parties. A party who fails to object to the magistrate judge’s findings or
recommendations contained in a report and recommendation waives the right to
challenge on appeal the district court’s order based on the unobjected-to factual and
legal conclusions. See 11th Cir. Rule 3-1.




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